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                              UM TED STATES DISTRICT COURT
                                      D ISTR IC T O F N EV A DA
 8   UNITED STATES OF AMERICA,                     )
                                                   )
                         Plaintiff,                )
                                                   )
           v.                                      )          2:1I-CR-3IO-JCM (ltJJ)
                                                   )
11 M CHARD MX EATON,                               )
                                                   )
12                       Defendaat.                )
13                         PRELIM INM W O RDER OF FORFEITURE
14        ThisCourtfindsthatonFebruary22,2012sdefendantRICHARD W HEATON pledguiltyto
15   CountOne ofa Nine-countCriminalIndictmentcharging him in CountOnewith Conspiracyto
16 DistributeM ari
                 juana,in violationofTitle21,UnitedStztesCode,Sections841(a)(1)and846.
17        ThisCourtfindsdefendarltRICHARD W HEATON agreedtotheforfeitureofthepropertyset
18 forthin theForfeitureAllegationsoftheCrim inalIndictmentand inthePleaM emorandum , Docket
19 #46.

20        ThisCourtfinds,pursuanttoFed.R.Crim.P.32.2(b)(1)and(2),theunitedSutesofAmerica
21 has shown the requisite nexus between property setforth in the Forfeiture Allegations ofthe
22 Crim inalIndictm entand the Plea M em orandum and the offense to w hich defendantRICHA RD

23 W H EA TON pled guilty.
24        ThefollowingmssetsaresubjecttoforfeiturepursuanttoTitle2l,UnitedStatesCode,Section
25   853(a)(1)and(a)(2);andTitle21,UnitedStatesCode,Section853419:    .



26
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 1              a.   $81,475.00inUnitedStatesCurrency(seizedfrom 24/7PrivateVaultssbased
 2                   onkeysrecoveredfrom JacobLillonorabout4/l3/1l);
 3              b.   $4,105.00inUnited SttesCurrency(seizedfrom EdmundJ.Schroback
 4                   representingtheday'sdrugsalesofmarijuanabyCompletelyLegal1.0onor
 5                   about4/13/2011);
 6              c,   $2,962.00 inUnited StatesCurrency (seizedfrom thecashregisterat
 7                   CompletelyLegal2,0onorabout4/13/2011);
 s              d.   $2,585.00inUnitedSGtesCurrency(seizedfrom thecashdrawerat
 9                   Com pletely Legal2.0on orabout8/3/2011);                              1

10              e.   $1,314.00inUnitedStatesCurrency(seized from masterbedroom ofJacob
11                   Lill'shomeon orabout8/3/2011);
12              f.   $12,056.00inUnitedStatesCurrency(seizedfrom baginJacobLill'svehicle
13                   athishomeonorabout8/3/201l);
14              g.   $2,567.00inUnitedStatesCurrency(seizedf'rom cashdraweratCompletely
15                   Legal3.0 onorabout8/3/2011);
16              h.   $7,432.00inUnitedStatesCurrency(seizedfrom JacobLill'sresidenceonor
17                   about4/13/2011);
18              i.   $2,150.00inUnitedStatesCurrency(seizedfrom BankofAmericaAccount
19                   No,501012187203int%enameofPM W ,Inc.,seizedollorabout8/5/201l);
20              j.   $2,665.00inUnitedSVtesCuzrency(seizedfrom BarlkofAmericaAccotmt
21                   No.501012645570 in the name ofEOS Ventures,LLC,seized on orabout

22                   8/5/2011);and
23              k.   2007 M ercedesCLK350sVm :W 17877561-157F215349, including

24                   approximately$18,000inupgrades,includingacustom audiosystem (seized
25                   onorabout4/l3/l1)(çspropertjp').
26 ...
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t



     1          ThisCourtfindsthe United StatesofAmerica is now entitled to, and should,reduce the

     2 aforem entioned property to the possession oftheUnited SàtesofAm erica.

     3          N OW THEREFORE,IT IS HEREBY ORDERED ,ADJUD OED ,AND DECREED thatthe
     4 United StatesofAmericashould seizethe aforementionedpropeo      .



     5          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED a11right, title,andinterestof

     6 RICHARD W HEATON intheaforem entionedpropertyisforfeitedandisvestedintheunitedSttes
     7 ofAmericaand shallbesafely heldbytheUnited SutesofAm ericalmtilfurtherorderoftheComt
     8         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED theUnited StatesofAm erica
     9 shallpublishforatleastthirty(30)oonsecutivedaysontheoflkialinternetgovernmentforfeiture
    10 website,w ww.forfeitare.gov,noticeofthisOrder,which shalldescribetheforfeited property, so te
    11 thetim eundertheapplicablesututewbenapethioncontestingthefozfeiturem ustbefiled, and sG te
    12 the nam e and contactinform ation for the governmentattorney to be senred w1t11the petition,
                                                                                      .




    13 pursuanttoFed.R.CHm.P.32.20946)andTitle21,UnitedStatesCode,Section853(n)(2).
    14         IT IS FURTHER ORDERED,ADJUDOED,AND DECREED apetition, ifmm m ustbefiled
    15 w ith the Clerk of the Court,333 Las VegasBoulevard South, Lms V egas,N evada 89101.

    16         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED a copyofthepetition, ifarly,
    l7 shallbe served upon theAssetForfeiture Attorney ofthe United StatesAttorney'sOffice atthe

    18 following addressatthetimeoffiling:
    19                M icbaelA .Hum phreys
                      A ssistantU nited StatesAttorney
    20                D anielD .Hollingsw orth
                      A ssistantUnited StatesA ttorney
    21                Lloyd D.GeorgeUnited SutesCourthouse
                      333 laasVegasBoulevard South,Suite 5000
    22                LasV egas,N evada 89101.
    23   .,.
    24   ...
    25   ...

    26   ...
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 1        IT IS FU RTH ER O RD ER ED,A D JUD GED,AN D D ECREED the notice described herein

 2 neednotbepublished in the eventaDeclaration ofForfeitureisissued by theappropriateagency
 3 followingpublication ofnoticeofseiztlreandintenttoadm inistratively forfeittheabove-described
 4 property.

 5        D A TED this      idayof- $                    ,   2012.
                                                                                 '




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 9                                              ITE      ATES DISTRICT JUDGE
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